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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF NORTH DAKOTA
                                  WESTERN DIVISION


JMAC ENERGY SERVICES LLC,
                                                       Case No. 1:24-cv-00080-DLH-CRH
                       Plaintiff/Counter-
                       Defendant,

         v.

BADGER MINING CORPORATION and
ATHABASCA MINERALS, INC.,

                       Defendants/Counter-
                       Plaintiffs/Third-Party
                       Plaintiff,

         v.

JON MCCREARY and TODD ERICKSON,

                       Third-Party Defendants.


                                    PROTECTIVE ORDER


         Based on the Joint Stipulated Motion of JMAC Energy Services LLC, Athabasca

Minerals, Inc., Jon McCreary and Todd Erickson (the “Parties”) and the factual representations

set forth therein, the Court finds that exchange of sensitive information between or among the

Parties and/or third parties other than in accordance with this Order may cause unnecessary

damage and injury to the Parties or to others. The Court further finds that the terms of this Order

are fair and just and that good cause has been shown for entry of a protective order governing the

confidentiality of documents produced in discovery, answers to interrogatories, answers to

requests for admission, and deposition testimony.

         IT IS THEREFORE ORDERED THAT, pursuant to Fed. R. Civ. P. 26(c):

         (A)   DESIGNATION OF CONFIDENTIAL OR ATTORNEYS’ EYES ONLY

INFORMATION. Designation of information under this Order must be made by placing or




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affixing on the document or material, in a manner that will not interfere with its legibility, the

words “CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY.”

                (1)     One who produces information, documents, or other material may

         designate them as “CONFIDENTIAL” when the person in good faith believes they

         contain trade secrets or nonpublic confidential technical, commercial, financial, personal,

         or business information.

                (2)     One who produces information, documents, or other material may

         designate them as “ATTORNEYS’ EYES ONLY” when the person in good faith believes

         that they contain particularly sensitive trade secrets or other nonpublic confidential

         technical, commercial, financial, personal, or business information that requires

         protection beyond that afforded by a CONFIDENTIAL designation.

                (3)     Except for information, documents, or other materials produced for

         inspection at the party’s facilities, the designation of confidential information as

         CONFIDENTIAL or ATTORNEYS’ EYES ONLY must be made prior to, or

         contemporaneously with, their production or disclosure. In the event that information,

         documents or other materials are produced for inspection at the party’s facilities, such

         information, documents, or other materials may be produced for inspection before being

         marked confidential. Once specific information, documents, or other materials have been

         designated for copying, any information, documents, or other materials containing

         confidential information will then be marked confidential after copying but before

         delivery to the party who inspected and designated them. There will be no waiver of

         confidentiality by the inspection of confidential information, documents, or other

         materials before they are copied and marked confidential pursuant to this procedure.




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                (4)     Portions of depositions of a party’s present and former officers, directors,

         employees, agents, experts, and representatives will be deemed confidential only if

         designated as such when the deposition is taken or within 30 days of receipt of the

         deposition transcript.

                (5)     If a party inadvertently produces information, documents, or other

         material containing CONFIDENTIAL or ATTORNEYS’ EYES ONLY information

         without marking or labeling it as such, the information, documents, or other material shall

         not lose its protected status through such production and the Parties shall take all steps

         reasonably required to assure its continued confidentiality if the producing party provides

         written notice to the receiving party within 10 days of the discovery of the inadvertent

         production, identifying the information, document or other material in question and of the

         corrected confidential designation.

         (B)    DISCLOSURE AND USE OF CONFIDENTIAL INFORMATION.

Information, documents, or other material designated as CONFIDENTIAL OR ATTORNEYS’

EYES ONLY under this Order must not be used or disclosed by the Parties or counsel for the

Parties or any persons identified in subparagraphs (B)(1) and (2) below for any purposes

whatsoever other than preparing for and conducting the litigation in which the information,

documents, or other material were disclosed (including appeals). The Parties must not disclose

information, documents, or other material designated as confidential to putative class members

not named as plaintiffs in putative class litigation unless and until one or more classes have been

certified.

                (1)     CONFIDENTIAL INFORMATION. The Parties and counsel for the

         Parties must not disclose or permit the disclosure of any information, documents or other




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         material designated as “CONFIDENTIAL” by any other party or third party under this

         Order, except that disclosures may be made in the following circumstances:

                       (a)     Disclosure may be made to employees of counsel for the Parties

                who have direct functional responsibility for the preparation and trial of the

                lawsuit. Any such employee to whom counsel for the Parties makes a disclosure

                must be advised of, and become subject to, the provisions of this Order requiring

                that the information, documents, or other material be held in confidence.

                       (b)     Disclosure may be made only to employees of a party required in

                good faith to provide assistance in the conduct of the litigation in which the

                information was disclosed who are identified as such in writing to counsel for the

                other Parties in advance of the disclosure of the confidential information,

                documents or other material.

                       (c)     Disclosure may be made to court reporters engaged for depositions

                and those persons, if any, specifically engaged for the limited purpose of making

                copies of documents or other material. Before disclosure to any such court

                reporter or person engaged in making copies, such reporter or person must agree

                to be bound by the terms of this Order.

                       (d)     Disclosure may be made to consultants, investigators, or experts

                (collectively “experts”) employed by the Parties or counsel for the Parties to assist

                in the preparation and trial of the lawsuit. Before disclosure to any expert, the

                expert must be informed of and agree to be subject to the provisions of this Order

                requiring that the information, documents, or other material be held in confidence.




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                         (e)   Disclosure may be made to deposition and trial witnesses in

                connection with their testimony in the lawsuit and to the Court and the Court’s

                staff.

                         (f)   Disclosure may be made to persons already in lawful and

                legitimate possession of such CONFIDENTIAL information.

                (2)      ATTORNEYS’ EYES ONLY INFORMATION. The Parties and counsel

         for the Parties must not disclose or permit the disclosure of any information, documents,

         or other material designated as “ATTORNEYS’ EYES ONLY” by any other party or

         third party under this Order to any other person or entity, except that disclosures may be

         made in the following circumstances:

                         (a)   Disclosure may be made to counsel and employees of counsel for

                the Parties who have direct functional responsibility for the preparation and trial

                of the lawsuit. Any such employee to whom counsel for the Parties makes a

                disclosure must be advised of, and become subject to, the provisions of this Order

                requiring that the information, documents, or other material be held in confidence.

                         (b)   Disclosure may be made to court reporters engaged for depositions

                and those persons, if any, specifically engaged for the limited purpose of making

                copies of documents or other material. Before disclosure to any such court

                reporter or person engaged in making copies, such reporter or person must agree

                to be bound by the terms of this Order.

                         (c)   Disclosure may be made to consultants, investigators, or experts

                (collectively “experts”) employed by the Parties or counsel for the Parties to assist

                in the preparation and trial of the lawsuit. Before disclosure to any expert, the




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                expert must be informed of and agree to be subject to the provisions of this Order

                requiring that the information, documents, or other material be held in confidence.

                         (d)    Disclosure may be made to deposition and trial witnesses in

                connection with their testimony in the lawsuit and to the Court and the Court’s

                staff.

                         (e)    Disclosure may be made to persons already in lawful and

                legitimate possession of such ATTORNEYS’ EYES ONLY information.

         (C)    MAINTENANCE OF CONFIDENTIALITY. Except as provided in

subparagraph (B), counsel for the Parties must keep all information, documents, or other material

designated as confidential that are received under this Order secure within their exclusive

possession and must place such information, documents, or other material in a secure area.

                (1)      All copies, duplicates, extracts, summaries, or descriptions (hereinafter

         referred to collectively as “copies”) of information, documents, or other material

         designated as confidential under this Order, or any portion thereof, must be immediately

         affixed with the words “CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY” if not

         already containing that designation.

                (2)      To the extent that any answers to interrogatories, transcripts of

         depositions, responses to requests for admissions, or any other papers filed or to be filed

         with the Court reveal or tend to reveal information claimed to be confidential, these

         papers or any portion thereof must be filed under seal by the filing party with the Clerk of

         Court utilizing the procedures set forth in D.N.D. Civ. L. R. 5.1(D) and section XV of the

         Court’s Administrative Policy Governing Electronic Filing and Service. If a Court filing

         contains information, documents, or other materials that were designated




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         “CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY” by a third party, the party

         making the filing shall provide notice of the filing to the third party.

         (D)    CHALLENGES TO CONFIDENTIALITY DESIGNATION. A party may

challenge the designation of confidentiality by motion. Before filing any such motion, the

moving party must comply with D.N.D. Civ. L. R. 37.1. The designating party bears the burden

of proving that the information, documents, or other material at issue are properly designated as

confidential. The Court may award the party prevailing on any such motion actual attorney fees

and costs attributable to the motion.

         (E)    INADVERTENTLY PRODUCED PRIVILEGED MATERIAL. A Party that

inadvertently produced privileged material to another Party may move for an order under Fed. R.

Civ. P. 502(d) or an order to compel the receiving Party to return or destroy such inadvertently

produced material. Before filing any such motion, the Party who inadvertently produced the

moving party must comply with D.N.D. Civ. L. R. 37.1.

         (F)    CONCLUSION OF LITIGATION. At the conclusion of the litigation, a party

may request that all information, documents, or other material not filed with the Court or

received into evidence and designated as CONFIDENTIAL or ATTORNEYS’ EYES ONLY

under this Order must be returned to the originating party or, if the Parties so stipulate,

destroyed, unless otherwise provided by law. Notwithstanding the requirements of this

paragraph, a party may retain a complete set of all documents filed with the Court, subject to all

other restrictions of this Order.




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         IT IS SO ORDERED.

         Dated this 6th day of June, 2025.

                                                     /s/ Clare R. Hochhalter
                                                     Clare R. Hochhalter, Magistrate Judge
                                                     United States District Court




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